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10
                         UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12

13   KATHRYN A. POSER, Individually          Case No.:
14   and on Behalf of All Others Similarly
     Situated,
15                                           CLASS ACTION COMPLAINT
16                           Plaintiff,      FOR VIOLATIONS OF THE
                                             FEDERAL SECURITIES LAWS
17                 v.
18                                           JURY TRIAL DEMANDED
     LIVE NATION
19   ENTERTAINMENT, INC.,
20   MICHAEL J. RAPINO, JOE
     BERCHTOLD, and JARED SMITH,
21

22                           Defendants.
23

24

25

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                                 CLASS ACTION COMPLAINT
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 1        Plaintiff Kathryn A. Poser (“Plaintiff”), by and through his attorneys, alleges
 2 the following upon information and belief, except as to those allegations concerning

 3 Plaintiff, which are alleged upon personal knowledge. Plaintiff’s information and

 4 belief is based upon, among other things, his counsel’s investigation, which includes

 5 without limitation: (a) review and analysis of regulatory filings made by Live Nation

 6 Entertainment, Inc. (“Live Nation” or the “Company”), with the United States

 7 Securities and Exchange Commission (“SEC”); (b) review and analysis of press

 8 releases and media reports issued by and disseminated by Live Nation; and (c)

 9 review of other publicly available information concerning Live Nation.

10                  NATURE OF THE ACTION AND OVERVIEW
11        1.    This is a class action on behalf of all persons and entities that purchased
12 or otherwise acquired Live Nation common stock between February 23, 2017 and

13 March 30, 2018, inclusive (the “Class Period”). Plaintiff pursues claims under the

14 Securities Exchange Act of 1934 (the “Exchange Act”).

15        2.    Live Nation produces live concerts and sells tickets to those events over
16 the internet. The Company owns and operates over 195 venues throughout the

17 world, and the Company significantly expanded its ticketing services with the

18 purchase of Ticketmaster Entertainment (“Ticketmaster”) in 2010.

19        3.    During the course of acquiring Ticketmaster, Live Nation agreed to the
20 terms of an antitrust consent decree with the Department of Justice (the, “Consent

21 Decree”). The Consent Decree contained specific rules to prevent the Company

22 from monopolizing live music promotion and ticketing.

23        4.    On April 1, 2018, after the close of the market, The New York Times
24 published a story entitled, “Roster of Stars Lets Live Nation Flex Ticket Muscles,

25 Rivals Say.” Therein, the article alleged that the Company failed to abide by the

26 terms of the Consent Decree aimed to prevent Live Nation and Ticketmaster from

27 monopolizing the market for live musical performances. The article stated in

28 relevant part:

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 1        In 2010, when the Justice Department allowed the two most dominant
 2
          companies in the live music business -- Live Nation and Ticketmaster
          -- to merge, many greeted the news with dread.
 3

 4
          Live Nation was already the world's biggest concert promoter.
          Ticketmaster had for years been the leading ticket provider. Critics
 5        warned that the merger would create an industry monolith, one
 6        capable of crippling competitors in the ticketing business.

 7        Federal officials tried to reassure the skeptics. They pointed to a
 8        consent decree, or legal settlement, they had negotiated as part of the
          merger approval. Its terms were strict, they said: It would boost
 9        competition and block monopolistic behavior by the new, larger Live
10        Nation.

11                                        ***
12
          Ticket prices are at record highs. Service fees are far from reduced.
13        And Ticketmaster, part of the Live Nation empire, still tickets 80 of
14        the top 100 arenas in the country. No other company has more than a
          handful. No competitor has risen to challenge its pre-eminence.
15

16        Now Department of Justice officials are looking into serious
          accusations about Live Nation's behavior in the marketplace.
17

18        They have been reviewing complaints that Live Nation, which
          manages 500 artists, including U2 and Miley Cyrus, has used its
19        control over concert tours to pressure venues into contracting with its
20        subsidiary, Ticketmaster. The company's chief competitor, AEG, has
          told the officials that venues it manages that serve Atlanta; Las Vegas;
21        Minneapolis; Salt Lake City; Louisville, Ky.; and Oakland, Calif.,
22        were told they would lose valuable shows if Ticketmaster was not
          used as a vendor, a possible violation of antitrust law.
23

24        5.     On this news, Live Nation’s stock price fell $3.97 per share, or almost
25 10%, to close at $38.17 per share on April 2, 2018, on unusually heavy volume.

26 The following trading session, Live Nation stock continued its decline, dropping

27 $1.56 per share, or over 4%, to close on April 3, 2018 at $36.61 per share.

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 1        6.     Throughout the Class Period, Defendants made false and/or misleading
 2 statements, as well as failed to disclose material adverse facts about the Company’s

 3 business, operations, and prospects. Specifically, Defendants failed to disclose: (1)

 4 that the Company failed to abide by the terms of the Consent Decree; (2) that the

 5 Company lacked adequate internal controls to prevent a violation of the Consent

 6 Decree; and (3) that, as a result of the foregoing, the Company’s financial

 7 statements and Defendants’ statements about Live Nation’s business, operations,

 8 and prospects, were materially false and misleading at all relevant times.

 9        7.     As a result of Defendants’ wrongful acts and omissions, and the
10 precipitous decline in the market value of the Company’s securities, Plaintiff and

11 other Class members have suffered significant losses and damages.

12                            JURISDICTION AND VENUE
13        8.     The claims asserted herein arise under and pursuant to Sections 10(b)
14 and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

15 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

16        9.     This Court has jurisdiction over the subject matter of this action
17 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C.

18 §78aa).

19        10.    Venue is proper in this Judicial District pursuant to Section 27 of the
20 Exchange Act (15 U.S.C. § 78aa(c)). A significant portion of Defendants’ actions,

21 and the subsequent damages, took place in this Judicial District. Additionally, Live

22 Nation’s principal executive offices are located within this Judicial District.

23        11.    In connection with the acts, transactions, and conduct alleged herein,
24 Defendants directly and indirectly used the means and instrumentalities of interstate

25 commerce, including the United States mail, interstate telephone communications,

26 and the facilities of a national securities exchange.

27

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 1                                        PARTIES
 2        12.    Plaintiff, as set forth in the accompanying certification, incorporated by
 3 reference herein, purchased Live Nation stock during the Class Period, and suffered

 4 damages as a result of the federal securities law violations and false and/or

 5 misleading statements and/or material omissions alleged herein.

 6        13.    Defendant Live Nation is incorporated in Delaware and its principal
 7 executive offices are located in Beverly Hills, California. Live Nation’s common

 8 stock trades on the New York Stock Exchange (the “NYSE”) under the symbol

 9 “LYV.”

10        14.    Defendant Michael J. Rapino (“Rapino”) was the President and Chief
11 Executive Officer (“CEO”) of Live Nation at all relevant times.

12        15.    Defendant Joe Berchtold (“Berchtold”) was the President of Live
13 Nation beginning on or around January 2018.

14        16.    Defendant Jared Smith (“Smith”) was the President of Ticketmaster
15 North America at all relevant times.

16        17.    Defendants Rapino, Berchtold, and Smith are collectively referred to
17 hereinafter as the “Individual Defendants.” The Individual Defendants, because of

18 their positions with the Company, possessed the power and authority to control the

19 contents of Live Nation’s reports to the SEC, press releases and presentations to

20 securities analysts, money and portfolio managers and institutional investors, i.e.,

21 the market. Each defendant was provided with copies of the Company’s reports and

22 press releases alleged herein to be misleading prior to, or shortly after, their issuance

23 and had the ability and opportunity to prevent their issuance or cause them to be

24 corrected. Because of their positions and access to material non-public information

25 available to them, each of these defendants knew that the adverse facts specified

26 herein had not been disclosed to, and were being concealed from, the public, and

27 that the positive representations which were being made were then materially false

28 and/or misleading. The Individual Defendants are liable for the false statements

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 1 pleaded herein, as those statements were each “group-published” information, the

 2 result of the collective actions of the Individual Defendants.

 3                            SUBSTANTIVE ALLEGATIONS
 4                                      Background
 5        18.    Live Nation produces live concerts and sells tickets to those events over
 6 the internet, owning and operating over 195 venues throughout the world.

 7                           Materially False and Misleading
 8
                        Statements Issued During the Class Period

 9        19.    The Class Period begins on February 23, 2017, on that date the
10 Company filed its annual report on Form 10-K for the period ended December 31,

11 2016. Therein, the Company stated that, “we believe that we are materially in

12 compliance with [federal, state and local laws]…governing primary ticketing and

13 ticket resale services.”

14        20.    On February 23, 2017, the Company also published a press that
15 provided in relevant part:

16        Live Nation delivered its sixth consecutive year of record results
          across revenue, adjusted operating income, or AOI, and free cash
17        flow, and also delivered operating income growth in 2016. For the
18        year, revenue was up 15%, operating income was up 48%, and free
          cash flow was up 5%, all as reported, and AOI was up 12% at
19
          constant currency. Our core divisions - concerts, ticketing and
20        advertising - each delivered their strongest operating income and AOI
          results in the history of the company.
21

22        We continue to see the tremendous power of live events, with strong
          global consumer demand. Live is a truly unique entertainment form -
23
          it cannot be duplicated. It is elevated, not threatened, by technology
24        and is borderless. Fans around the world can now discover, follow,
          share and embrace artists, creating greater demand for live shows. We
25
          believe the live business will continue to have strong growth for years
26        to come as fans globally drive demand, artists are motivated to tour,
          and technology drives conversion.
27

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 1        21.   On May 4, 2017, Live Nation filed a quarterly report on Form 10-Q for
 2 the period ended March 31, 2017. And, on that same day the Company published a

 3 press release announcing financial results for the first quarter 2017, stating in

 4 relevant part:

 5        Highlights (year-over-year):
 6
          Ÿ Revenue Up 17% for the Quarter to $1.4 Billion
 7

 8
          Ÿ Operating Income Improves 36% for the Quarter to $(21) Million

 9        Ÿ Adjusted Operating Income Up 25% for the Quarter to $92 Million
10
          Ÿ Concert Ticket Sales for 2017 Shows of 46 Million, Up 25%
11        through April
12
          Ÿ Sponsorship & Advertising Contracted Net Revenue Up Double
13        Digits through April
14
          Ÿ Ticketmaster Fee-Bearing GTV at Constant Currency Up 18%
15        through First Quarter
16
          Live Nation has continued growing its business in 2017,     with first
17        quarter revenue up 17%, operating income improvement of     36%, and
18        adjusted operating income, or AOI, up 25%, with strong      operating
          performance across all our concerts, advertising and         ticketing
19        segments.
20
          This year we have booked more shows, sold more tickets and have
21        more sponsorship commitments than ever before at this point of the
22        year. With the strength of these leading indicators, I am confident we
          will once again deliver record topline, operating income and AOI
23        performance in each of our businesses in 2017.
24
          The global concerts industry is structurally growing, with strong
25        tailwinds for both supply and demand. On the supply side, artists are
26        touring now more than ever. And on the demand side, between the
          millennial shifting of spend to experiences and the globalization of
27        artists on social media, we see continued long-term growth as fans
28        attend more concerts.

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 1        22.   On August 9, 2017, Live Nation filed a quarterly report on Form 10-Q
 2 for the period ended June 30, 2017. And, on that same day the Company published a

 3 press release announcing financial results for the second quarter 2017, stating in

 4 relevant part:

 5        Highlights (year-over-year):
 6
          Ÿ Revenue Up 29% for the Quarter to $2.8 Billion
 7

 8
          Ÿ Operating Income Up 53% for the Quarter to $113 Million

 9        Ÿ Adjusted Operating Income Up 22% for the Quarter to $221
10        Million

11        Ÿ Net Cash Provided by Operating Activities Increased for the
12        Quarter to $43 Million

13        Ÿ Free Cash Flow — Adjusted Up 42% for the Quarter to $154
14        Million

15        Ÿ Event-Related Deferred Revenue Up 31% to $1.5 Billion as of June
16        30

17        Ÿ Concert Tickets Sold for 2017 Shows are Over 68 Million, Up 22%
18        through July
          Ÿ Sponsorship & Advertising Contracted Net Revenue Up Double
19        Digits through July
20
          Ÿ Ticketmaster Fee-Bearing GTV at Constant Currency Up 13%
21        through June
22
          Live Nation continued growing its businesses in the second quarter,
23        with revenue up 29%, operating income up 53% and adjusted
24        operating income, or AOI, up 22%, while net cash provided by
          operating activities increased to $43 million, and free cash flow -
25        adjusted increased to $154 million, up 42%. All three segments grew
26        as we continued demonstrating the strength of our business model.
          Our concerts business is our flywheel, selling over 68 million tickets
27        to shows this year through July, 12 million more tickets than at this
28        point last year.

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 1

 2
           This demonstrates that we have built the industry’s most scalable and
           unparalleled live platform, bringing over 550 million fans in 40
 3         countries to live events each year. With key metrics in each of
 4
           concerts, sponsorship and ticketing pacing double digits ahead of last
           year, we are confident that 2017 will be another record year of results
 5         for Live Nation.
 6
           23.    On November 2, 2017, Live Nation filed a quarterly report on Form 10-
 7
     Q for the period ended September 30, 2017. And, on that same day the Company
 8
     published a press release announcing financial results for the third quarter 2017,
 9
     stating in relevant part:
10
           Highlights (year-over-year):
11

12         Ÿ Event-Related Deferred Revenue Up 86% to $774 Million as of
           September 30
13

14         Ÿ Concert Tickets Sold for 2017 Shows Over 80 Million, Up 20%
           through October
15

16         Ÿ Sponsorship & Advertising Contracted Net Revenue Up 13%
           through October
17         Ÿ Ticketmaster Fee-Bearing GTV Up 14% through September
18
           Ÿ Revenue Up 12% for the Quarter to $3.6 Billion
19

20         Ÿ Operating Income Up 5% for the Quarter to $201 Million

21         Ÿ Adjusted Operating Income Up 10% for the Quarter to $335
22         Million
23         Live Nation had its best third quarter ever and 2017 is on track to
24         deliver another year of record results across revenue, operating
           income and adjusted operating income, or AOI. For the quarter,
25         revenue was up 12%, operating income was up 5% and AOI was up
26         10%. For the nine months, revenue was up 19%, operating income
           was up 26% and AOI was up 16%. All our divisions — concerts,
27         advertising and ticketing — each delivered their strongest quarterly
28         AOI results ever.

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  1

  2
           Our concerts business is our flywheel, attracting almost 30 million
           fans to shows globally in the quarter, which then drove record results
  3        in our onsite, ticketing and advertising businesses. Through October,
  4
           we have sold over 80 million tickets for concerts in 2017, up 20%
           year-on-year.
  5

  6        With our strength in concert attendance growth we are also seeing
           similar success in our onsite, sponsorship and ticketing businesses,
  7        giving us confidence that 2017 will be another year of record results
  8        for Live Nation overall and for each of our divisions.

  9        24.    On February 27, 2018, Live Nation filed an annual report on Form 10-
 10 K for the period ended December 31, 2017. Therein, the Company stated that, “we

 11 believe that we are materially in compliance with [federal, state and local laws]…

 12 governing primary ticketing and ticket resale services.”

 13        25.    On February 27, 2018 the Company published a press release
 14 announcing financial results for 2017, stating in relevant part:

 15
           Full Year 2017 - Another Record Year for Live Nation
 16
           Ÿ Revenue Up 24% to $10.3 Billion
 17
           Ÿ Live Nation Concerts Attendance of 86 Million, Up 21%
 18
           Ÿ Ticketmaster Fee-Bearing GTV Up 15% and Secondary GTV
 19        Up 16%
 20        Ÿ Sponsorship & Advertising Revenue Up 18%
 21        Ÿ Event-Related Deferred Revenue Up 13% to $816 Million as of
           December 31
 22
           2018 Indicators (as of Mid-February)
 23
           Ÿ Confirmed Concerts Show Count Up 7% Year-Over-Year
 24
           Ÿ On-Site Spending at Amphitheaters Expected to Grow
 25        Additional $2 Per Fan
 26        Ÿ Sponsorship & Advertising Committed Net Revenue at 70% of
           2018 Projections
 27
           Live Nation delivered its seventh consecutive year of record results,
 28        with revenue growth across all our divisions - concerts, sponsorship

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  1         and ticketing. We continue to see the tremendous power of live
  2
            events, with strong consumer demand and a robust supply of new and
            established artists hitting the road from clubs to stadiums. Live is truly
  3         a unique entertainment form; it cannot be duplicated and creates
  4
            lifetime memories that fans are craving more than ever in this
            experience economy.
  5

  6         We believe the live business will continue to have strong growth for
            years to come as fans globally drive demand, artists are touring more,
  7         and sponsorship and ticketing benefit from the concerts flywheel.
  8
            26.    The above statements identified in ¶¶19-25 were materially false and/or
  9
      misleading when made because Defendants failed to disclose: (1) that the Company
 10
      failed to abide by the terms of the Consent Decree; (2) that the Company lacked
 11
      adequate internal controls to prevent a violation of the Consent Decree; and (3) that,
 12
      as a result of the foregoing, the Company’s financial statements and Defendants’
 13
      statements about Live Nation’s business, operations, and prospects, were materially
 14
      false and misleading at all relevant times.
 15
                          Disclosures at the End of the Class Period
 16
            27.    On April 1, 2018, after the close of the market, The New York Times
 17
      published a story entitled, “Roster of Stars Lets Live Nation Flex Ticket Muscles,
 18
      Rivals Say.” Therein, the article alleged that the Company failed to abide by the
 19
      terms of a consent decree aimed to prevent Live Nation and Ticketmaster from
 20
      monopolizing the market for live musical performances. The article stated in
 21
      relevant part:
 22
            In 2010, when the Justice Department allowed the two most dominant
 23         companies in the live music business -- Live Nation and Ticketmaster
            -- to merge, many greeted the news with dread.
 24

 25         Live Nation was already the world's biggest concert promoter.
            Ticketmaster had for years been the leading ticket provider. Critics
 26
            warned that the merger would create an industry monolith, one
 27         capable of crippling competitors in the ticketing business.
 28

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  1        Federal officials tried to reassure the skeptics. They pointed to a
  2
           consent decree, or legal settlement, they had negotiated as part of the
           merger approval. Its terms were strict, they said: It would boost
  3        competition and block monopolistic behavior by the new, larger Live
  4
           Nation.

  5                                        ***
  6
           Ticket prices are at record highs. Service fees are far from reduced.
  7        And Ticketmaster, part of the Live Nation empire, still tickets 80 of
  8        the top 100 arenas in the country. No other company has more than a
           handful. No competitor has risen to challenge its pre-eminence.
  9

 10        Now Department of Justice officials are looking into serious
           accusations about Live Nation's behavior in the marketplace.
 11

 12        They have been reviewing complaints that Live Nation, which
           manages 500 artists, including U2 and Miley Cyrus, has used its
 13        control over concert tours to pressure venues into contracting with its
 14        subsidiary, Ticketmaster. The company's chief competitor, AEG, has
           told the officials that venues it manages that serve Atlanta; Las Vegas;
 15        Minneapolis; Salt Lake City; Louisville, Ky.; and Oakland, Calif.,
 16        were told they would lose valuable shows if Ticketmaster was not
           used as a vendor, a possible violation of antitrust law.
 17

 18        28.    On this news, Live Nation’s stock price fell $3.97 per share, or almost
 19 10%, to close at $38.17 per share on April 2, 2018, on unusually heavy volume.

 20 The following trading session, Live Nation stock continued its decline, dropping

 21 $1.56 per share, or over 4%, to close on April 3, 2018 at $36.61 per share.

 22                         CLASS ACTION ALLEGATIONS
 23        29.   Plaintiff brings this action as a class action pursuant to Federal Rule of
 24 Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and

 25 entities that purchased or otherwise acquired Live Nation securities between

 26 February 23, 2017 and March 30, 2018, inclusive, seeking to pursue remedies under

 27 the Exchange Act; and who were damaged thereby (collectively, the “Class”).

 28 Excluded from the Class are Defendants, the officers and directors of the Company,

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  1 at all relevant times, members of their immediate families and their legal

  2 representatives, heirs, successors or assigns and any entity in which Defendants

  3 have or had a controlling interest.

  4         30.   The members of the Class are so numerous that joinder of all members
  5 is impracticable.        Throughout the Class Period, Live Nation’s securities were
  6 actively traded on the NYSE.          While the exact number of Class members is
  7 unknown to Plaintiff at this time and can only be ascertained through appropriate

  8 discovery, Plaintiff believes that there are hundreds or thousands of members in the

  9 proposed Class. Millions of Live Nation shares were traded publicly during the

 10 Class Period on the NYSE. As of February 20, 2018, there were 208,168,826 shares

 11 of the Company’s common stock outstanding. Record owners and other members

 12 of the Class may be identified from records maintained by Live Nation or its transfer

 13 agent and may be notified of the pendency of this action by mail, using the form of

 14 notice similar to that customarily used in securities class actions.

 15         31.   Plaintiff’s claims are typical of the claims of the members of the Class
 16 as all members of the Class are similarly affected by Defendants’ wrongful conduct

 17 in violation of federal law that is complained of herein.

 18         32.   Plaintiff will fairly and adequately protect the interests of the members
 19 of the Class and has retained counsel competent and experienced in class and

 20 securities litigation.

 21         33.   Common questions of law and fact exist as to all members of the Class
 22 and predominate over any questions solely affecting individual members of the

 23 Class. Among the questions of law and fact common to the Class are:

 24               (a)    whether the federal securities laws were violated by Defendants’
 25 acts as alleged herein;

 26               (b)    whether statements made by Defendants to the investing public
 27 during the Class Period omitted and/or misrepresented material facts about the

 28 business, operations, and prospects of Live Nation ; and

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  1               (c)   whether the members of the Class have sustained damages and,
  2 if so, what is the proper measure of damages.

  3        34.    A class action is superior to all other available methods for the fair and
  4 efficient adjudication of this controversy since joinder of all members is

  5 impracticable. Furthermore, as the damages suffered by individual Class members

  6 may be relatively small, the expense and burden of individual litigation makes it

  7 impossible for members of the Class to individually redress the wrongs done to

  8 them. There will be no difficulty in the management of this action as a class action.

  9                         UNDISCLOSED ADVERSE FACTS
 10        35.    The market for Live Nation’s securities was open, well-developed and
 11 efficient at all relevant times. As a result of these materially false and/or misleading

 12 statements, and/or failures to disclose, Live Nation’s securities traded at artificially

 13 inflated prices during the Class Period. Plaintiff and other members of the Class

 14 purchased or otherwise acquired Live Nation’s securities relying upon the integrity

 15 of the market price of the Company’s securities and market information relating to

 16 Live Nation, and have been damaged thereby.

 17        36.    During the Class Period, Defendants materially misled the investing
 18 public, thereby inflating the price of Live Nation’s securities, by publicly issuing

 19 false and/or misleading statements and/or omitting to disclose material facts

 20 necessary to make Defendants’ statements, as set forth herein, not false and/or

 21 misleading. Said statements and omissions were materially false and/or misleading

 22 in that they failed to disclose material adverse information and/or misrepresented the

 23 truth about Live Nation’s business, operations, and prospects as alleged herein.

 24        37.    At all relevant times, the material misrepresentations and omissions
 25 particularized in this Complaint directly or proximately caused or were a substantial

 26 contributing cause of the damages sustained by Plaintiff and other members of the

 27 Class. As described herein, during the Class Period, Defendants made or caused to

 28 be made a series of materially false and/or misleading statements about Live

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  1 Nation’s financial well-being and prospects. These material misstatements and/or

  2 omissions had the cause and effect of creating in the market an unrealistically

  3 positive assessment of the Company and its financial well-being and prospects, thus

  4 causing the Company’s securities to be overvalued and artificially inflated at all

  5 relevant times. Defendants’ materially false and/or misleading statements during

  6 the Class Period resulted in Plaintiff and other members of the Class purchasing the

  7 Company’s securities at artificially inflated prices, thus causing the damages

  8 complained of herein.

  9                                 LOSS CAUSATION
 10         38.   Defendants’ wrongful conduct, as alleged herein, directly and
 11 proximately caused the economic loss suffered by Plaintiff and the Class.

 12         39.   During the Class Period, Plaintiff and the Class purchased Live
 13 Nation’s securities at artificially inflated prices and were damaged thereby. The

 14 price    of   the   Company’s     securities   significantly   declined   when   the
 15 misrepresentations made to the market, and/or the information alleged herein to

 16 have been concealed from the market, and/or the effects thereof, were revealed,

 17 causing investors’ losses.

 18                              SCIENTER ALLEGATIONS
 19         40.   As alleged herein, Defendants acted with scienter in that Defendants
 20 knew that the public documents and statements issued or disseminated in the name

 21 of the Company were materially false and/or misleading; knew that such statements

 22 or documents would be issued or disseminated to the investing public; and

 23 knowingly and substantially participated or acquiesced in the issuance or

 24 dissemination of such statements or documents as primary violations of the federal

 25 securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of

 26 their receipt of information reflecting the true facts regarding Live Nation, his/her

 27 control over, and/or receipt and/or modification of Live Nation’s allegedly

 28 materially misleading misstatements and/or their associations with the Company

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  1 which made them privy to confidential proprietary information concerning Live

  2 Nation, participated in the fraudulent scheme alleged herein.

  3              APPLICABILITY OF PRESUMPTION OF RELIANCE
  4
                     (FRAUD-ON-THE-MARKET DOCTRINE)

  5        41.    The market for Live Nation’s securities was open, well-developed and
  6 efficient at all relevant times. As a result of the materially false and/or misleading

  7 statements and/or failures to disclose, Live Nation’s securities traded at artificially

  8 inflated prices during the Class Period. On February 26, 2018, the Company’s stock

  9 closed at a Class Period high of $48.59 per share. Plaintiff and other members of

 10 the Class purchased or otherwise acquired the Company’s securities relying upon

 11 the integrity of the market price of Live Nation’s securities and market information

 12 relating to Live Nation, and have been damaged thereby.

 13        42.    During the Class Period, the artificial inflation of Live Nation’s stock
 14 was caused by the material misrepresentations and/or omissions particularized in

 15 this Complaint causing the damages sustained by Plaintiff and other members of the

 16 Class. As described herein, during the Class Period, Defendants made or caused to

 17 be made a series of materially false and/or misleading statements about Live

 18 Nation’s business, prospects, and operations. These material misstatements and/or

 19 omissions created an unrealistically positive assessment of Live Nation and its

 20 business, operations, and prospects, thus causing the price of the Company’s

 21 securities to be artificially inflated at all relevant times, and when disclosed,

 22 negatively affected the value of the Company stock. Defendants’ materially false

 23 and/or misleading statements during the Class Period resulted in Plaintiff and other

 24 members of the Class purchasing the Company’s securities at such artificially

 25 inflated prices, and each of them has been damaged as a result.

 26        43.    At all relevant times, the market for Live Nation’s securities was an
 27 efficient market for the following reasons, among others:

 28

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  1                (a)   Live Nation stock met the requirements for listing, and was listed
  2 and actively traded on the NYSE, a highly efficient and automated market;

  3                (b)   As a regulated issuer, Live Nation filed periodic public reports
  4 with the SEC and/or the NYSE;

  5                (c)   Live Nation regularly communicated with public investors via
  6 established    market communication mechanisms, including through regular
  7 dissemination of press releases on the national circuits of major newswire services

  8 and through other wide-ranging public disclosures, such as communications with the

  9 financial press and other similar reporting services; and/or

 10                (d)   Live Nation was followed by securities analysts employed by
 11 brokerage firms who wrote reports about the Company, and these reports were

 12 distributed to the sales force and certain customers of their respective brokerage

 13 firms.     Each of these reports was publicly available and entered the public
 14 marketplace.

 15          44.   As a result of the foregoing, the market for Live Nation’s securities
 16 promptly digested current information regarding Live Nation from all publicly

 17 available sources and reflected such information in Live Nation’s stock price. Under

 18 these circumstances, all purchasers of Live Nation’s securities during the Class

 19 Period suffered similar injury through their purchase of Live Nation’s securities at

 20 artificially inflated prices and a presumption of reliance applies.

 21          45.   A Class-wide presumption of reliance is also appropriate in this action
 22 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United

 23 States, 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded

 24 on Defendants’ material misstatements and/or omissions.               Because this action
 25 involves Defendants’ failure to disclose material adverse information regarding the

 26 Company’s       business operations and financial prospects—information that
 27 Defendants were obligated to disclose—positive proof of reliance is not a

 28 prerequisite to recovery. All that is necessary is that the facts withheld be material

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  1 in the sense that a reasonable investor might have considered them important in

  2 making investment decisions. Given the importance of the Class Period material

  3 misstatements and omissions set forth above, that requirement is satisfied here.

  4                                    NO SAFE HARBOR
  5         46.    The statutory safe harbor provided for forward-looking statements
  6 under certain circumstances does not apply to any of the allegedly false statements

  7 pleaded in this Complaint. The statements alleged to be false and misleading herein

  8 all relate to then-existing facts and conditions. In addition, to the extent certain of

  9 the statements alleged to be false may be characterized as forward looking, they

 10 were not identified as “forward-looking statements” when made and there were no

 11 meaningful cautionary statements identifying important factors that could cause

 12 actual results to differ materially from those in the purportedly forward-looking

 13 statements. In the alternative, to the extent that the statutory safe harbor is

 14 determined to apply to any forward-looking statements pleaded herein, Defendants

 15 are liable for those false forward-looking statements because at the time each of

 16 those forward-looking statements was made, the speaker had actual knowledge that

 17 the forward-looking statement was materially false or misleading, and/or the

 18 forward-looking statement was authorized or approved by an executive officer of

 19 Live Nation who knew that the statement was false when made.

 20                                    FIRST CLAIM
 21
                       Violation of Section 10(b) of The Exchange Act
                          and Rule 10b-5 Promulgated Thereunder
 22                 (Against the Company and the Individual Defendants)
 23
            47.    Plaintiff repeats and re-alleges each and every allegation contained
 24
      above as if fully set forth herein.
 25
            48.    During the Class Period, the Company and the Individual Defendants
 26
      carried out a plan, scheme and course of conduct which was intended to and,
 27
      throughout the Class Period, did: (i) deceive the investing public, including Plaintiff
 28
      and other Class members, as alleged herein; and (ii) cause Plaintiff and other
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  1 members of the Class to purchase Live Nation’s securities at artificially inflated

  2 prices.   In furtherance of this unlawful scheme, plan and course of conduct, the
  3 Company and the Individual Defendants, and each of them, took the actions set

  4 forth herein.

  5        49.      the Company and the Individual Defendants (i) employed devices,
  6 schemes, and artifices to defraud; (ii) made untrue statements of material fact and/or

  7 omitted to state material facts necessary to make the statements not misleading; and

  8 (iii) engaged in acts, practices, and a course of business which operated as a fraud

  9 and deceit upon the purchasers of the Company’s securities in an effort to maintain

 10 artificially high market prices for Live Nation’s securities in violation of Section

 11 10(b) of the Exchange Act and Rule 10b-5.          The Company and the Individual
 12 Defendants are sued either as primary participants in the wrongful and illegal

 13 conduct charged herein or as controlling persons as alleged below.

 14        50.      The Company and the Individual Defendants, individually and in
 15 concert, directly and indirectly, by the use, means or instrumentalities of interstate

 16 commerce and/or of the mails, engaged and participated in a continuous course of

 17 conduct to conceal adverse material information about Live Nation’s financial well-

 18 being and prospects, as specified herein.

 19        51.      These defendants employed devices, schemes and artifices to defraud,
 20 while in possession of material adverse non-public information and engaged in acts,

 21 practices, and a course of conduct as alleged herein in an effort to assure investors of

 22 Live Nation’s value and performance and continued substantial growth, which

 23 included the making of, or the participation in the making of, untrue statements of

 24 material facts and/or omitting to state material facts necessary in order to make the

 25 statements made about Live Nation and its business operations and future prospects

 26 in light of the circumstances under which they were made, not misleading, as set

 27 forth more particularly herein, and engaged in transactions, practices and a course of

 28

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  1 business which operated as a fraud and deceit upon the purchasers of the Company’s

  2 securities during the Class Period.

  3        52.    Each of the Individual Defendants’ primary liability, and controlling
  4 person liability, arises from the following facts: (i) the Individual Defendants were

  5 high-level executives and/or directors at the Company during the Class Period and

  6 members of the Company’s management team or had control thereof; (ii) each of

  7 these defendants, by virtue of their responsibilities and activities as a senior officer

  8 and/or director of the Company, was privy to and participated in the creation,

  9 development and reporting of the Company’s internal budgets, plans, projections

 10 and/or reports; (iii) each of these defendants enjoyed significant personal contact

 11 and familiarity with the other defendants and was advised of, and had access to,

 12 other members of the Company’s management team, internal reports and other data

 13 and information about the Company’s finances, operations, and sales at all relevant

 14 times; and (iv) each of these defendants was aware of the Company’s dissemination

 15 of information to the investing public which they knew and/or recklessly

 16 disregarded was materially false and misleading.

 17        53.    The Company and the Individual Defendants had actual knowledge of
 18 the misrepresentations and/or omissions of material facts set forth herein, or acted

 19 with reckless disregard for the truth in that they failed to ascertain and to disclose

 20 such facts, even though such facts were available to them. Such defendants’ material

 21 misrepresentations and/or omissions were done knowingly or recklessly and for the

 22 purpose and effect of concealing Live Nation’s financial well-being and prospects

 23 from the investing public and supporting the artificially inflated price of its

 24 securities.   As demonstrated by the Company and the Individual Defendants’
 25 overstatements and/or misstatements of the Company’s business, operations,

 26 financial well-being, and prospects throughout the Class Period, these defendants, if

 27 they did not have actual knowledge of the misrepresentations and/or omissions

 28 alleged, were reckless in failing to obtain such knowledge by deliberately refraining

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  1 from taking those steps necessary to discover whether those statements were false or

  2 misleading.

  3        54.    As a result of the dissemination of the materially false and/or
  4 misleading information and/or failure to disclose material facts, as set forth above,

  5 the market price of Live Nation’s securities was artificially inflated during the Class

  6 Period. In ignorance of the fact that market prices of the Company’s securities were

  7 artificially inflated, and relying directly or indirectly on the false and misleading

  8 statements made by the Company and the Individual Defendants, or upon the

  9 integrity of the market in which the securities trades, and/or in the absence of

 10 material adverse information that was known to or recklessly disregarded by the

 11 Company and the Individual Defendants, but not disclosed in public statements by

 12 these defendants during the Class Period, Plaintiff and the other members of the

 13 Class acquired Live Nation’s securities during the Class Period at artificially high

 14 prices and were damaged thereby.

 15        55.    At the time of said misrepresentations and/or omissions, Plaintiff and
 16 other members of the Class were ignorant of their falsity, and believed them to be

 17 true. Had Plaintiff and the other members of the Class and the marketplace known

 18 the truth regarding the problems that Live Nation was experiencing, which were not

 19 disclosed by the Company and the Individual Defendants, Plaintiff and other

 20 members of the Class would not have purchased or otherwise acquired their Live

 21 Nation securities, or, if they had acquired such securities during the Class Period,

 22 they would not have done so at the artificially inflated prices which they paid.

 23        56.    By virtue of the foregoing, the Company and the Individual Defendants
 24 have violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated

 25 thereunder.

 26        57.    As a direct and proximate result of Defendants’ wrongful conduct,
 27 Plaintiff and the other members of the Class suffered damages in connection with

 28

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  1 their respective purchases and sales of the Company’s securities during the Class

  2 Period.

  3                                    SECOND CLAIM
  4
                         Violation of Section 20(a) of the Exchange Act
                              (Against the Individual Defendants)
  5
            58.    Plaintiff repeats and re-alleges each and every allegation contained
  6
      above as if fully set forth herein.
  7
            59.    The Individual Defendants acted as controlling persons of Live Nation
  8
      within the meaning of Section 20(a) of the Exchange Act as alleged herein. By
  9
      virtue of their high-level positions, and their ownership and contractual rights,
 10
      participation in and/or awareness of the Company’s operations and/or intimate
 11
      knowledge of the false financial statements filed by the Company with the SEC and
 12
      disseminated to the investing public, the Individual Defendants had the power to
 13
      influence and control and did influence and control, directly or indirectly, the
 14
      decision-making of the Company, including the content and dissemination of the
 15
      various statements which Plaintiff contends are false and misleading.                 The
 16
      Individual Defendants were provided with or had unlimited access to copies of the
 17
      Company’s reports, press releases, public filings and other statements alleged by
 18
      Plaintiff to be misleading prior to and/or shortly after these statements were issued
 19
      and had the ability to prevent the issuance of the statements or cause the statements
 20
      to be corrected.
 21
            60.    In particular, each of these Defendants had direct and supervisory
 22
      involvement in the day-to-day operations of the Company and, therefore, is
 23
      presumed to have had the power to control or influence the particular transactions
 24
      giving rise to the securities violations as alleged herein, and exercised the same.
 25
            61.    As set forth above, Live Nation and the Individual Defendants each
 26
      violated Section 10(b) and Rule 10b-5 by their acts and/or omissions as alleged in
 27
      this Complaint. By virtue of their positions as controlling persons, the Individual
 28

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  1 Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct

  2 and proximate result of Defendants’ wrongful conduct, Plaintiff and other members

  3 of the Class suffered damages in connection with their purchases of the Company’s

  4 securities during the Class Period.

  5                                PRAYER FOR RELIEF
  6        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
  7        (a)    Determining that this action is a proper class action under Federal
  8 Rules of Civil Procedure 23;

  9        (b)    Awarding compensatory damages in favor of Plaintiff and the other
 10 Class members against all defendants, jointly and severally, for all damages

 11 sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

 12 including interest thereon;

 13        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
 14 incurred in this action, including counsel fees and expert fees; and

 15        (d)    Such other and further relief as the Court may deem just and proper.
 16                               JURY TRIAL DEMANDED
 17        Plaintiff hereby demands a trial by jury.
 18

 19 Dated: April 18, 2018                   GLANCY PRONGAY & MURRAY LLP
 20

 21                                         By: s/ Robert V. Prongay
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 28
                                            - and -
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                                       CERTIFICATION OF NAMED PLAINTIFF
                                     PURSUANT TO FEDERAL SECURITIES LAWS

            The undersigned declares, as to the claims asserted under the federal securities laws, that:

                     Plaintiff has reviewed the initial complaint filed in this action.

                    Plaintiff did not purchase and/or acquire the security that is the subject of this action at the
            direction of Plaintiff's counsel or in order to participate in any private action under the federal
            securities laws.

                   Plaintiff is willing to serve as a representative party on behalf of the class,
            including providing testimony at deposition and trial, if necessary. I understand that this is not a
            claim form, and that my ability to share in any recovery as a member of the class is not dependent
            upon execution of this Plaintiff Certification.

                   Plaintiff's transactions in the security that is the subject of this action during the
                   Class
            Period are as follows - List additional transactions on Schedule A, if necessary:

                     Purchases:

                              Ticker of Company        Date(s) Purchased       # Shares Purchased       Cost/Share
                                LYV                      7/27/2017              30                    37.49
                                                         7/27/2017              20                    37.16
                                                         2/6/2018               25                    43.53

                     Sales:                              2/28/2018              25                    45.01

                              Ticker of Company        Date(s) Sold        # Shares Sold            Proceeds/Share
                               LYV




                    During the three (3) years prior to the date of this certification, Plaintiff has not sought to
            serve or served as a class representative in an action filed under the federal securities laws except
            for the following (if any):
             None
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                    Plaintiff will not accept any payment for serving as a representative party on behalf of the
            class beyond Plaintiff's pro rata share of any recovery, except such reasonable costs and expenses
            (including lost wages) directly relating to the representation of the class as ordered or approved
            by the court.

                     I declare under penalty of perjury that the foregoing is true and correct.
                             3               April               Las Vegas               Nevada
            Executed this _____ day of _______, 2018 in ___________________, _______________.
                                                                   City               State



                                                   (Signature) X__________________________________
                                                                              Kathryn A Poser
                                                   (Print Name)___________________________________
                                                                     First            Last
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                                                             SCHEDULE A

                     Purchases:

                              Ticker of Company        Date(s) Purchased      # Shares Purchased       Cost/Share
                                LYV                     3/1/2018               45                    43.06

                                                        3/7/2018               30                    43.76
                                                        3/8/2018               25                    44.00




                     Sales:

                              Ticker of Company        Date(s) Sold        # Shares Sold           Proceeds/Share
                               LYV
